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                 IN THE UNITED STATES DISTRICT COURT FOR THE
               EASTERN DISTRICT OF ARKANSAS, WESTERN DIVISION

BRITNEY DAVIS, as Special                                        PLAINTIFF
Administratrix of the Estate of Bradly
Blackshire, Deceased

Vs.                               CASE NO.:4: 1 9-CV-3 98-BRW

OFFICER CHARLES STARKS #34308,
OFFICER MICHAEL SIMPSON #36194,
And THE CITY OF LITTLE ROCK                                      DEFENDANTS


            ANSWER TO COMPTAINT BY DEFENDANT CHARLES STARKS


         COMES NOW, Charles Starks        by and through his attorney Robert A.
Newcomb and for his Answer to the Complaint states:

                                   INTRODUCTION


1. It is admitted that at all times material to this cause of action Charles Starks
      was a Little Rock Police Officer.   It is further admitted that Charles Starks
      killed Bradley Blackshire and it is denied that it was an unlawful killing. The

      Defendant denies that he intentionally stepped in front of the vehicle driven

      by Mr. Blackshire and affirmatively states that Mr. Blackshire turned the
      vehicle into the path that Officer Starks was taking to get to his police car.

      The actions of Defendant Simpson do not apply to Defendant Starks and

      therefore are denied. Pleading affirmatively Officer Starks states that
      Desaray Clarke who had been          in the vehicle with deceased Bradley
      Blackshire was sa)ang that he had a gun.

2. The allegations in paragraph number 2 are denied.
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3. The Defendant denies the allegations               in   paragraph number      3   and

      affirmatively states that the shooting was not unlawful or unconstitutional.

   The shooting was reviewed by the Prosecuting Attorney for Pulaski County

  who found that the use of deadly force was justified under Arkansas Law.

                                JURISDICTION AND VENUE

4. The allegations in paragraph number 4 of the complaint are admitted.
5. The allegations in paragraph number 5 are admitted.
                                            PARTIES

6. The allegations in paragraph number 6 at the Estate of Bradley Blackshire
   represent the property and legal interest of the decedent Bradley Blackshire

   is admitted. The remaining allegations other than as to the number                 of

      children are denied. At the time of Mr. Blackshire's death he had failed to

      support his children and there was a pickup order from the Circuit Court of

      Pulaski County, AR for over $20,000.00 in unpaid child support.

7. It is admitted that Britney Davis was appointed         Special Administratrix of the

      Estate of Bradley Blackshire.   It is further denied that   she has legal standing

      to represent the Estate since the Defendant lacks knowledge of whether she

      is qualified.

B. The allegations in paragraph number B are admitted.
9. The allegations in paragraph number 9 do not apply to this Defendant and
      to the extent that they do they are denied.

10.   The allegations   in   paragraph number 10 do          not appear to apply to
      Defendant Starks but to the extent that they do the allegations are denied.
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11. The allegations in paragraph number 11 are admitted.

                                   FACTUAL ALLEGATIONS

12.   It is admitted that there are video recordings of the events that lead to the
      death of Bradley Blackshire. The allegation that Bradley Blackshire was
      surreptitiously targeted by LRPD and Defendant Starks is denied.

13. The Defendant Charles Starks has insufficient knowledge         to admit or deny
      that Mr. Blackshire borrowed a Black Nissan Altima on February 22, 2019
      for lack of personal knowledge therefore it is denied. It is admitted that on
      February 22,2OTg Mr. Blackshire was driving a stolen Black Nissan Altima.

14. The allegations in paragraph number 14 are admitted.

15. The allegations in paragraph number 15 are admitted.

16. The Defendant Charles Starks can neither admit nor deny the allegations       in

      paragraph 16    for lack of personal knowledge and therefore        denies the

      allegation that Mr. Blackshire did not violate any traffic law.

17. The Defendant Charles Starks admits that while Mr. Blackshire was driving

      Defendant Starks was made aware          by another police officer that Mr.
      Blackshire was driving a stolen vehicle. Defendant Starks had probable cause

      to arrest Mr. Blackshire for theft by receiving.

18. There is no information that the Defendant Starks received that the       Ntima
      was being driven    in a dangerous or threatening      manner. The remaining

      allegations are denied because     it would be assumed by aII trained police
      officers that someone in the course of committing a felony such as Mr.
      Blackshire may commit violent acts.
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19.   The    allegations   in paragraph number 19 are admitted other than it      is

      denied that Mr. Blackshire was not aware that the police may be intending to

      stop him since he mentioned that he was being followed by the Federal

      Bureau of Investigation and was informed by Ms. Clarke that a police car was

      turning into the parking lot Mr. Blackshire had turned into.

20. The allegations in paragraph number 20 are denied.

21.   The allegations in paragraph number 21 are denied as it is reasonably
      believed based upon the statements made by Mr. Blackshire according to Ms.

      Clarke and Mr. Blackshire's actions that he was aware that the Little Rock

      Police Department was interested in arresting him.

22. T}ae allegations in paragraph 22 are admitted except as to the claim that Mr.

      Blackshire was unsuspecting since he was driving a stolen vehicle    it would
      be reasonable for him to suspect that the police may be interested in him, he

      was also reasonably certain to be suspicious that the police would arrest him

      since he was   in the possession of a stolen .45 Caliber Beretta Pistol as a
      convicted facing possible State or Federal Criminal charges, and that he

      possessed   in the vehicle drug paraphernalia and Methamphetamine. It       is

      admitted that following policy and procedure, Officer Starks pulled into the

      parking lot. It is not mandatory policy to wait on back up so that part of the

      allegations is denied.

23. The allegations in paragraph number 23 are admitted.

24.T}ae allegations in paragraph number 24 are admitted.
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25. The allegations       in paragraph number 25 are denied. Mr. Blackshire's failure
      to show his hands when directed to do so by Defendant Starks was
      threatening to the officer because     if   the officer cannot see the hands they

      could be being used to hold a gun.

26.   It is admitted that Mr. Blackshire was informed by Mr. Starks approximately
      LZ times to get out of the vehicle, and instead of complying with the
      directions of the Little Rock Police Officer Mr. Blackshire locked the vehicle

      and refused to get out. The Defendant Charles Starks can neither admit nor

      deny Mr. Blackshire feared for his life and therefore denies the same.

27.lt" is admitted that Mr. Blackshire a habitual criminal made the statement,

      "What are you going to shoot me for?" For which Mr. Starks responded that

      he did not want to shoot Mr. Blackshire.

ZB.   It is admitted that Defendant Starks did not advise Mr. Blackshire why he
      was being detained at gunpoint but told him that when he got out of the

      vehicle he would inform him why he was being detained.

29.    It is admitted the Ntima started going forward. It is denied as a conclusion
      that   it   was slowly rolling forward. It is further stated that Mr. Blackshire

      was driving the vehicle     in such a manner    as to strike the Defendant with the

      vehicle, which is considered a deadly weapon under Arkansas law for the

      crimes of attempted capital murder, battery in the 2"d degree, or aggravated

      assault. The vehicle was driven         in such a manner that Mr. Blackshire
      intentionally struck Defendant Starks while the Defendant was beside the
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  vehicle performing his duties as     a police officer. The actions of    Mr.

  Blackshire caused injury to Defendant Starks's knee.


           DEFENDANT STARKS JUSTIFIABLY USED DEADLY FORCE


                      AGAINST BRADLEY BLACKSHIRE


30.The allegations contained in paragraph number 30 are denied.

31.The Defendant denies the allegation as written in paragraph number 31 and

   affirmatively states that he was moving westward and southward when the

  Altima was driven into him by Bradley Blackshire'

32.The allegations contained in paragraph number 32 are denied'

33.The allegation contained in paragraph number 33 is denied'

34.The allegation contained in paragraph number 34 is denied'

35.The allegation contained in paragraph number 35 as written is denied'

36.The allegations contained in paragraph number 36 are denied'

37.The Defendant admits that he had the gun pointed at Mr' Blackshire
                                                                      since

   Mr. Blackshire was suspected of committing a felony and there was
                                                                     probable

   cause to believe that he was committing a felony by having possession of
                                                                            a


   stolen car. It is denied that the Ntima had a very slow movement'

3B.The allegations in paragraph number 38 are denied.

39.The allegations in paragraph 39 are denied'

40.The allegation in paragraph 40 is denied.
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41.It is admitted that the Defendant never saw a firearm but reasonably
  believed based upon the actions of Mr. Blackshire that he had a gun, and in

  fact a stolen .45 semi-automatic pistol was found in the vehicle.

42.The allegations   in paragraph 42   ar   e admitted.

43.The allegations in paragraph 43 are denied.

44.Defendant Starks saw Mr. Blackshire reaching               in such a manner that he
   reasonably believed Mr. Blackshire was reaching for a gun or some type of

   weapon to cause harm, physical injury, or death to Defendant Starks.

45.The allegation contained in paragraph 45 is denied'

46.The allegations contained in paragraph 46 are denied

47.The allegations contained in paragraph 47 are denied.

48.It is admitted that the vehicle struck the Defendant and deadly force
                                                                         was

   used. It is denied that the actions were with the intent to kill Mr. Blackshire;

   the intent was to protect Defendant starks from serious bodily injury or
   death.

49.The allegations contained in paragraph 49 are denied.

 50.The allegations contained in paragraph 50 are denied.

 5l.The allegations as written in paragraph 51 are denied.

 52.The Defendant admits that he shot multiple times and learned
                                                                 later that Mr'

    Blackshire was severely wound.ed. Further             it is stated that subsequently, it
    was learned that Mr. Blackshire had PCP in his system which has the
                                                                        effect

    of making PeoPle immune to Pain.
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S3.Defendant Starks admits that when Mr. Blackshire drove the car into him        it
  caused him to be bent over the hood. Defendant Starks believed that he was

  going to be killed, so he used force. The Defendant has insufficient
  knowledge to admit or deny whether Mr. Blackshire was unable to keep his

  foot on the break as his body convulsed with each bullet he sustained       so

  therefore, he can neither admit or denied and therefore the same is denied.

54.It is admitted that LRPD Officer, Defendant Simpson actions were to protect

   the life of Defendant Starks when he drove into the Altima. The remaining

   allegations in paragraph 54 are denied.

55.It is admitted that Defendant Starks fell off the hood of the vehicle
                                                                         after    it

   was struck bY Officer SimPson.


  IT IS DENIED THAT THE OFFICERS FAILED TO PROVIDE AID AND MEDICAL

                          CARE TO MR. BLACKSHIRE.

                                                                 paragraph 56,
56.Defendant Starks is not alleged to have committed any acts in

   but to the extent it   accuses   him of any misconduct, the allegations    are


   denied.
                                                                  paragraph 57,
 ST.Defendant Starks is not alleged to have committed any acts in

   but to the extent it accuses him of miscond.uct, the allegations are denied.

 SB.The Defendant   did not observe Mr. Blackshire in the car so he can neither

    admit nor deny the allegations contained in paragraph 58 and therefore
    denies the same.
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59.The Defendant Starks rendered aid to Ms. Desaray Clark. The Defendant,

   because   of rendering aid to the passenger, did not render aid to                 Mr.

   Blackshire. The passenger stated repeatedly at the time that Mr. Blackshire

   had a gun, and that was conveyed to Officer Simpson by                        Officer
   Starks. Officers of the Little Rock Police Department promptly provided
   medical care for Mr. Blackshire as soon as it was ascertained that he did not

   pose a threat to any officer. An ambplance was                           immediately
   requested. Defendant Starks was injured and admits that he did not request

   emergency medical services but had informed Communications                  of   shots
   fired, which would by protocol trigger the response by emergency medical
   personnel. The tape discloses that almost immediately after the scene was

   secured or just prior thereto that radio traffic discloses that a request was

   made that MEMS be 10-18'Ed, which means "expedited."

60.Defendant Starks denies the allegation in paragraph 60.

61.It is denied that there was a delay in requesting medical services for Mr.
   Blackshire. The allegation in paragraph   6l   as   written is denied.
62.Mr. Blackshire received prompt medical attention from members of the Little

   Rock Police Department. Whether he was losing consciousness is unknonm

   to Defendant Starks. The allegation of a more than 5 minute delay in
  requesting emergency medical services are denied.

63.The allegations in paragraph 63 are denied.

64.It is admitted that Mr. Blackshire was pronounced dead at the scene. The

  remaining allegations in paragraph 64 are denied.
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  DEFENDANT STARKS DENIES THE ATTEMPT TO COVER UP AN UNLAWFUL

       SHOOTING AND DENIES THERE WAS AN UNLA\,VFUL SHOOTING.


65.The allegations in paragraph 65 are denied.

66.The Defendant Starks has no memory at the present time of the allegations

   contained in paragraph 66 and therefore denies the same.

67.The allegations contained in paragraph 67 are denied.

6B.It would be standard practice that the Defendant would be told not to talk

   about the shooting, not in an attempt to conceal the Officer's actions, but as

  protocol since he would be interviewed possibly by both Internal Affairs and

  definitely by Major Crimes. The allegation of unlawful actions is denied. It

  is affirmatively stated that the prosecuting attorney for the Sixth Judicial
  District ruled the shooting justified and the Defendant pleads qualified
  immunity.

69.It is admitted that Lieutenant Johnny Gilbert made a recommendation that

  Starks' employment be terminated. This was done in retaliation for Officer

  Starks filing a grievance against Lt. Gilbert, which was affirmed as valid

  shortly before Lt. Gilbert made the unfounded recommendation.

70.It is admitted that Lt. Johnny Gilbert made a recommendation that Starks'

  employment be terminated. The recommendation was            in retaliation for
  Officer Starks filing a grievance against Lt. Gilbert, which was affirmed   as

  valid shortly before Lt. Gilbert made the unfounded recommendation.
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71.The Defendant has          no personal knowledge and the         vagueness   of   the
      allegation makes   it   impossible to investigate. Therefore, the allegations
      contained in paragraph 71 are denied for lack of personal knowledge.

72.lt is denied that there are multiple credible                recommendations for
      termination and the remaining allegations in paragraph 72 are denied. To

      the extent the City's Policies, Practices and Customs were the moving factor

      behind Defendants'unlawful actions, this allegation is denied.

73.   Defendant Starks has insufficient knowledge          to admit or      deny the
      allegations contained in paragraph 73 and further they do not apply to him,

      and therefore denies the same.

74.T}ae allegations in paragraph 74 are admitted.

75. The Defendant Starks has insufficient personal knowledge to admit or deny

      the allegations contained in paragraph 75, further   it   does not apply to him,

      and therefore denies these allegations. Defendant Starks was at one point in

      time accused by Lt. Gilbert of sick leave abuse which was what was grieved

      and overturned by City Manager, Bruce Moore. The Defendant Starks had

  used      a significant amount of sick leave in one year while under the
  command of Lt. Johnny         Gilbert.   Said sick leave was used by the Defendant

  to care for his wife who had complications early in her pregnancy that
  resulted in a miscarriage. This time off would be protected by federal law

  but Lt. Gilbert was not willing to follow federal law. Further, Defendant's
  wife had to have a D & C after the miscarriage, then was admitted to the
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   hospital a short time later for pneumonia. Defendant Starks then had
   absences because of gall bladder problems.

76. The conclusions and allegations stated in paragraph 76 are denied.


    THE CITY'S FAILURE TO DISCPLINE OFFICERS WHO FIRE INTO MOVING

       VEHICLES WAS A MOVING FORCE IN THE DEFENDANT'S ACTIONS.


77.The Police Department has a policy that speaks for   itself. The Defendant in
   this case faced imminent threat of great bodily injury or death when he fired

   into the car.

78.The allegations in paragraph ZB are denied.

79.The allegations   in paragraph 79 do not apply to this Defendant, and the
   Defendant was not employed by the Little Rock Police Department       in 2007
   and therefore denies those allegations for lack of personal knowledge.

BO.The Defendant has no knowledge     of the allegations contained in paragraph
   80, and was not employed by the Little Rock Police Department at that time

   so therefore denies the allegations in paragraph B0 as applied to him.

Bl.The allegations in paragraph 81 do not apply to this Defendant and further,

  he was not employed by the Little Rock Police Department at the time and

  has no personal knowledge of the allegations and therefore denies the same.

82.The allegations in paragraph 82 do not apply to this Defendant and further,

  he was not employed by the Little Rock Police Department at the time and

  has no personal knowledge of the allegations and therefore denies the same.
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83.The Defendant admits that he knows of the incident when officer Gunn shot

   James Heartsfield who was driving a car dragging her as the Defendant

   understands    it    and was the cause   of his own death. Any remaining
   allegations are denied.

84.This Defendant has no personal knowledge of the allegations contained in

   paragraph 84, was not present, was not at work on that day, and therefore

   denies any inference or allegation that paragraph 84 applies to the conduct

   of the Defendant.

B5.The Defendant was not on the payroll of the Little Rock Police Department

   in   ZOLZ and has     no personal knowledge of the allegations contained in
   paragraph 85, and can neither admit or deny the allegations, and therefore

   denies the same.

B6.The Defendant has no personal knowledge       of the allegations contained in
   paragraph 86 and can neither admit or deny the same, and therefore denies

   those allegations.

B7.It is denied that the Officers violated policy and the allegations contained

   herein. It is further stated that the proximate cause of Mr. Blackshire's death

  was his oum actions.

88.The allegations      in   paragraph 88 do not apply   to this Defendant,   and

   therefore are denied.

B9.The allegations contained in paragraph 89 are denied.

90.The allegations in paragraph number 90 have nothing to do with this Case

   and Defendant Starks parked in front of Mr. Blackshire's vehicle that was a
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   stolen vehicle with his blue lights on and   in a marked police car so Mr.
  Blackshire was not an unaware suspect, and therefore the allegations in

  paragraph 90 are denied.

91.The allegations contained in paragraph number 91 are denied.

92.The allegations contained   in   paragraph number gZ do not allege any
  misconduct by Defendant Starks, but to the extent that they do they are

  denied.

93.The allegations contained   in   paragraph number 93 does not apply to
  Defendant Starks and therefore are denied to the extent that the allegations

  apply to the actions of Defendant Starks

94.The allegations contained   in paragraph   number g4 do not appty      to the
  actions of Defendant Starks and therefore to the extent that they may apply

  to him are denied.

95.The Defendant Starks has no knowledge        of what the Little Rock    Police

  Department knew of the need to provide training or whether in fact they are

  needed training, so the allegations in paragraph number g5 are denied.

96.The allegations in paragraph number 96 do not apply to Defendant Starks

  but to the extent that they may they are denied.

                               PLNNTIFF'S DAMAGES


97.The Defendant does not have sufficient knowledge     to admit or deny the
  conclusions ad allegations stated    in paragraph numb er g7 and therefore
  denies the same
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9B.The allegations contained   in paragraph number gB are speculative. pleading
   affirmatively it is stated that Mr. Blackshire was not likely to be an individual

   who grew and improved as a provider for his family since he was over

   $20,000.00   in arrearage in Court Ordered child      support; had four prior
   felony convictions; had three felony charges pending; had committed on the

   day of his death three felonies at a minimum; had previously committed a

   federal crime by possessing a silencer that while not illegal under Arkansas

   State Law was a Federal Offense.     At the time of his death Mr. Starks had
   charges that could have resulted      in a life imprisonment     sentence.   It   is
   denied that Mr. Starks deprived Mr. Blackshire of a reasonable opportunity

   to grow and improved      based upon Mr. Blackshire's history        of   criminal
   conduct and continued criminal conduct.

99.The Defendant has no knowledge of whether Mr. Blackshire ever helped his

   children with their homework, ever had any relationship with his son, or

  would have been present to be able to walk his daughter dovrm the aisle.

   Therefore the allegations contained in paragraph number 99 are denied for

  lack of personal knowledge.

100. It can nether be admitted or denied that the allegations contained in
  paragraph number 100 are true and therefore they are denied. Pleading

  affirmatively it is stated that the actions of the decedent Mr. Blackshire were

  the proximate cause of his death.

101. It is admitted that Mr. Blackshire was the only son of Kim Blackshire-Lee.
  The remaining allegations as to brutal actions are denied. The Defendant has
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  no knowledge of the extent of the mother-son relationship so therefore
  denies there was one.


                 couNT r-42 u.s.c. s1983   EXCESSTVE   DEADLY FORCE.


LOz. The Defendant Charles Starks incorporates each of the paragraphs in his
  answer by reference.

103. The allegations contained in paragraph number 103 are denied.
IO4.   The allegations contained in paragraph number 104 are denied.


           couNT rr-42 u.s.c. s1983   FATLURE TO PROVTDE MEDTCAL CARE



105. The Defendant incorporates each of the paragraphs in his answer by
  reference.

106. The Defendant Charles Starks was providing assistance to the passenger
  Ms. Clark and therefore could not also provide medical treatment to Mr.

  Blackshire who was receiving medical treatment by other officers.

IO7. The allegations in paragraph number 107 are denied and the legal claims
  are denied.

108. The allegations contained in paragraph number l0B are denied.

               COUNT rtr-42 U.S.C. 51983 MUNICAPLE LIABILITY: MONELL


109. The Defendant incorporates each of the paragraphs in this answer by
  reference.
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    110. The Defendant denies the allegations in paragraph number 110 for lack
      of any personal knowledge of said alleged policy and custom.

111. The Defendant denies that the barricading a suspect's motor vehicle
      inevitably leads officers to employ excessive deadly force. The direct and

      approximate result of any use of deadly force in this case was caused by the

      actions of Mr. Blackshire in committing felonies, driving a vehicle into the

      body of the Defendant, and failure to comply with lawful orders of a police

      officer.

II2.      The Defendant does not have sufficient knowledge to admit or deny the

      policy and custom of the City of Little Rock but to the extent of such
      information and knowledge he has denies the allegations in paragraph   ll2.
113. To the extent paragraph 113 alleges any improper actions by the
      Defendant, the Defendant denies the allegations contained in paragraph 113.

LI4.      The allegations contained in paragraph 114 as to any misconduct by this

      Defendant are denied.

115. The allegations in paragraph     ll5   are denied.

116. The allegations contained in paragraph 116 are denied.
LL7. The allegations contained in paragraph rrz are denied.

    COUNT IV-STATE LAW CLAIM VIOLATION OF ARKANSAS CIVIL RIGHTS ACT


1   18.   The Defendant incorporates each of the paragraphs in this answer by

     reference.

119. The allegations contained in paragraph 119 are denied
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               COUNT V-STATE LAW CLAIM ASSAULT AND BATTERY


L2O. The Defendant incorporates each of the paragraphs in this answer by

  reference.

I2I.   The Defendant Charles Starks admits that he drew his gun because of his

  right to protect his life. The criminal acts being committed by Mr. Blackshire
  justified under State Law the display of a gun. The actions were not contrary

  to clearly established law and the Defendant is entitled to qualified      and

   statutory immunity.

I22. The use of force was Iegal and justified, therefore the          allegations

  contained in paragraph 122 are denied.

I23. The allegations contained in      paragraph L23 are denied      for lack of
  personal knowledge of whether Mr. Blackshire suffered physical pain. The

  remaining conclusions and allegations in paragraph 123 are denied.

                COUNT VI.STATE LAW CLNM WRONGFUL DEATH


I24.   The Defendant incorporates each of the paragraphs in this answer by

  reference.

I25.   To the extent that paragraph 125 states facts instead of legal conclusions

  they are denied.

126. The allegations in paragraph 126 are denied.
I27. The Defendant lacks sufficient knowledge to admit or deny                the

  allegations in paragraph number I27 artd therefore denies the same.
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128. The Defendant has insufficient knowledge         to admit or      deny the
   allegations in paragraph 128 and therefore denies the same.


                COUNT VII-STATE LAW CLAIM SURVIVAL ACTION


I29. The Defendant incorporates each of the paragraphs       in this   answer by
   reference.

130. The allegations in paragraph 130 are denied.
131. The allegations in paragraph 131 are denied.
r32.   The allegations in paragraph number 132 are denied




  COUNT VIII-STATE LAW CLAIM INTENTIONAL INFLICTION OF EMOTIONAL

                                  DISTRESS


133. The Defendant incorporates each of the paragraphs in this answer by
  reference.

T34. The allegations in paragraph 134 are denied.
135. The allegations in paragraph 135 are denied.

                   GENERAL DENIAL AND AFFIRMATIVE DEFENSES


136. The Defendant Charles Starks denies each and every material allegation
  contained in the Complaint that was not specifically admitted herein.
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I37.   Defendant Charles Starks pleads qualified immunity from suit       for   all
   State and Federal Constitutional claims against him. Defendant Starks's

   actions did not violate any clearly established law.

138. The Defendant Charles Starks pleads justification as defense for all
   claims against him. The actions of Defendant Starks were in conformity with

   the laws of the State of Arkansas.

139. The Defendant Charles Starks states that the actions of Mr. Blackshire
   were such as to constitute comparative fault for his or,rm death.

L4O. The Defendant Charles Starks pleads the State Statutory defense to

   claims of negligence. The allegations contained in the complaint failed to

   state a cause of action against Defendant Charles Starks in that no facts

   allege the actions of Defendant Starks were committed with malice.

L4L. The Defendant Charles Starks denies punitive damages should                be

   awarded; any award of punitive damages would be a violation of the Due

   Process Clause of the 14'h Amendment to the United States Constitution.

L42. The Court should award the Defendant attorney's fees, Court costs, and
   litigation expenses.

                                   JURY TRIAL


I43.   The Defendant Charles Starks requests a trial by Jury.


WHEREFORE, the Defendant Charles Starks     respectfully requests that this Court
will dismiss the action against him, deny the Plaintiff the right to proceed with
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this action for lack of proper legal standing to be appointed that Administratrix

of the Estate, any and all other relief to which Charles Starks is entitled.

                                       Respectfully Submitred,



                                       Robert A. Newcomb, #73087
                                       Attorney for Petitioner
                                       P.O. Box 149
                                       Little Rock, AR 72203
                                       (s01) 372-ss77
                                       E-mail: robertnwcmb@aol.com



                             CERTIFICATE OF SERVICE

      I hereby certify that a copyof the above and foregoing was served via the
Courts ECF record system this /___ day of August, 201b, to:

Mr. Omavi Shukur                      Alex Betton
omavi@loew.com                        ab etton@littlero   ck.   gov

Tom Carpenter                         Arthur Loevy
tcarpenter@littlerock. gov             arthur@loew.com

Jon Loevy                             David B. Owens
jon@loew.com                          david@loevy.com




                                      Ro           ewcomb
